CaSe:lS-lOQGB-TB|\/| DOC#ZJ_J_B Filed:O?/lS/J_S Entered207/18/1810214239 Pagel Of 13

Exhibit 5

 

DEBTOR(S):§ ] B( §§ 5 `@ ’Pd L l ff , MoNTHLY oPERATlNe REPoRT
cHAPTER 11
CASE NUMBER= \_'C");\£BL{SIB~’\
Fcnn 2»A

COVER SHEET

For Period End Dare: ,§L!.I]L_ZQ,_')Q_\@

mounting Mtthod: JAccmal Baais |:|Cash Basis

Tl'll$ REPORT lS DUE 21 DAYS AFfER THE END OF T'H'E MONTH

Debtcr must attach each cline viewing documents unless the Uv S. Tn.ietee

 

\llark Dne Bc)< tar Each has waived the requirement in writing. Fi|e the original with the Cierk cf CcurL
Required Dncument: Submit a dur.ilir:al.el with original signature to the U. S. Trustee.
Reporh'Docl.lment Pre\rioudy
Att¢chad Waived REQU|RED REPORTSIDOCUBENTS

 

1. Cash Receipts and Disursemcnts Siaterrent (Form 2-B)
'2. Baence sheer (Form 2-0)

'3. Prom and Loss Statement (Form 2-0)

. Supporiing Scheduies (Form 2-E)

'5. Quarteriy Fee Summary (Forrn 2-F)

'6. Narrarive (Form 2-G)

'7. Bank statements for All Bank Accoums

fRedact all but last 4 digits of account number and remove check lmsges)
'3. Bank Smrerrenr reconciliations for ali sank Accounts

EEE[I[:|EEI:|

9 Evidenc>e of insurance for all policies renewed or replaced during month

#@@@QQRRQ

 

l declare under penalty of perjury that the following Monthly Operatlng Report, and any
attachments thereto are true, accurate and correct to the best of my knowledge and belief.

Execui:ed on:: \\ \ 2]| \B Print Name:

Signature:

me \~/icm orr

  

 

Page 23
Rev. 111 5l14

CaSe:lS-lOQGB-TB|\/| DOC#ZJ_J_B Filed:O?/lS/J_S Entered207/18/1810214239 PageZ Of 13

 

sx_hlsl;,§
DEBTOR(S)= uth item ’Prj k L_,C, CASE NO= \&M
Form 2-B
CASH RECE|PTS AND DISBURSEMENT STATEMENT
For Period: Lp_l_\_\_\_&__to
CASH FLOW SUMMARY Currerlt
M AL_"M,:H§
'1. Beginning Cash Balance $M'(U $ m'l‘l)
'2. cash Recelpls
Operations g
Sa|e cf Assets
Loansladvanoes
O'he' uh\n\®[?tn'l' B’ZOCD.
Tota| Cash Receipts $ ‘ $ ""
'3. cash Dlsbursemenls
Operations
Debt Ser\licelSecured loan payment
Professional feeslU.S. Trusllee fees q A__\
Pr ion fees`peid from Retainer (e.g. COLTAF acct) M_f\ 3 )l o\ _
Olher l uc\\\\’_r\cs.?'ec.€). €Jol\\l-\ %er\l`lc_e.‘s q_»-\q%_qq. W 51
Tolal Cash Disbursemems $ m $ m
'4. Nel cash l=low cruel cash Recelpls less
mcaulsmml giant manage

5 landing cash salaries no Form 2.c) s M_\Mz) $ Lg Q'\ §.EB '(2)

 

 

 

cAsH BALANcE suMMARY Bool<
Financia| lnstilu|iol'l Balance
Pelly cash N/l>~ $
DlP Operalng mount _\b¢:lu§§ndq_ Lds'\\‘é€:\\o
l:llP sale Tax Accouht \\\_|D\
DlP Payrol| Account N las
Olher Operating Acoount N !P`

 

seems held by professionals ll.e. col_TAF) `
ToTAL (musl agree mm lending cash salarch abole) $ U'IZ)

(1) Accumulal‘ed beginning cash balance is the cash available al the commencement of the case and retainers.
Currenl month beg'nnl'ng cash balance should equal the previous months ending balance
(2) All cash balances should be the same.
Page 24
Rev. 1l1 5l'l 4

CaSe:18-10965-TB|\/| DOC#2115 Filed:O7/18/18 Entered:O7/18/1810214239 Page3 Of 13

 

 

EXhibit 5
DEBTORlS):llZ£{§ mem Q(j. LL£., CASE ~O: E>;\£QLE§Yb/l
Form 2-B
CASH RECE|PTS AND DlSBUR M TS STATEMENT
For Period: Sd_\_ led to
CASH DISBURSEMENTS DETA|L AGCOl.lnt NOZ l
(atlach editl'rllnal sheets as necessary)
l Date l [Check No.l I Payeo l I Descriplion (Purpose) l l An'Dunf ]

 

L°\"‘\\E> \CUD \l\\€.l`r‘l\-lor\ 90 MU¥K"F@;::§ $ M‘ZFQ.CF\
Lo\*\\\% P~Or% XCCXEYU%,B l\/lcw§ \E'> 'Tl%AO

Lc>\'l’l\\% 1306 i>lMQ\l~\o€ref mt§lm we 'l”\?).lo\
io\’).‘\\ls \CUW ibx§‘€>(c\m l>:\’icwc»$\:€€f) \70°“@3
wells non iam EQU owe ’lf>\‘?:> \79`°'_‘?’

Tolal cash Disbursemems $M'(l}

f‘l) Total forall' accounts shouldeng with total cash disbursements listed on Form 2-B, page ‘l

Page 26
Re\r. 1l15l14

oEeToR(s): HEBJ_&Ak\-’l\ QT\ LL(‘.

 

Form 2~0

COMPARAT|VE BALANC SHEET
For Period Ended:

ASSETS

Current Assets:
cash lfmm Form 2-e. line 5)
Accol.lnts Recel'vable (from Form 2-E)
Receivable from Ol"ficers. Ermloyees, Affiliales
|nlrentory
Other Current Assets :(l_ist)

Total Current Assels
Fixed Assets:
Land
Building
Equipmlant1 Fumilure and l-`lxtures
Total Fi)aed Assets
Less: Accum.llaled Depreciation

Net Fi)eed Assets
Other Assets (List):

TOTAL. ASSETS

l_lABll_lTlES
Post-pelition Accounls Payab|e (from Form 2-E)
Post-petition Accrued Profesional Fees (from Form 2-E)
Post-peiition Tallles Payable (from Form 2-E)
Post-pell`lion No\tes Payable
Olher Post~pelill‘on Payab|e(l_ist):

Total POSl Peiilion Liabillties

Pre Petition Liabi|ities:
Secured Debt
Priority Debt
thecured Debt
Total Pre F'etition Liabilities
TOTAL L|ABIL|T|ES

OWNERS' EQUlTY
Olmer'slStocld'lolder's Equity
Retained Earnings » Prepetition
Relained Earnings - Post-pelilion
TOTAL OWNERS' EQU|TY
TOTAL L|ABIL|T|ES AND OWNERS' EQU|TY

CaSe:18-10965-TB|\/| DOC#2115 Filed:O7/18/18 Entered:O7/18/1810214239 Page4 Of 13

Exhibit 5

cAsE~o= mason

Current Petilion
lll|onlh Date (1)
$low'l\‘:'>.¢lko $

\?_jb*\l§£_ 'z]__ \?.`)'70"\?_)/)--’:)-

s m\%$ ml

$ _..
fos®.ooo- w»'EDO-OCO-

 

 

( )( )
$LQEH)\CID.-"$Lm"'

 

 

$M&\%$ SBQZEDI.'Z).

$ $

 

$ 05 s (Z

(

seem Hb\w%s§l
\")_- 7_000;" \'22)’2000.

$ €EL\Q"`.L£&._‘°¢~"B Mo§£>:°€"\
$DLDZL@»_A"\$ §I.QZ:LQ?£)A"\

$ $

 

$ §U'l\ $ mib
$ LPI\LM&\E>$ LA£E§JED-'n-

fi) Mn‘on date values are taken from the Deb¢or'.s balance sheet as of the petition due cr am the values

llsted on the Debtor‘s schedules

Page 27
Re\r. 1l15l14

CaSe:18-10965-TB|\/| DOC#2115 Filed:O7/18/18 Entered:O7/18/1810214239 PageB Of 13

ML_§
DEBTOR(S): \]B§ fm 3`,£3@ § L§;: cAsE r~lo; U@T%M
Form 2-D
PROF|T AND LOSS STATEMENT
For Perlod l£\_\_hg_to
Current Accumulaled
Month Tolai (1)
Gross Operating Revenue $ $
Less: Discounts, Returns and A|iowances ( ) ( )
Net Operating Revenue 5 fn $ _¢__
Cost of Goods Soid

Gross Profit $ f b $ ( 5

Operating Expenses
Officer Compensaiion $ $
Seiiing, General and Administrati\re UE')."'
Rents end Leases
Depreciation, Depieh'on and Amorijzaiion

olher riley ‘*Mn
Mé§'i‘: insane meal

Tota| Operating Expenses $ m\ $
operating lucerne lLoss) $ "J£l@\ $ '_Alt.lal£i‘-_'E>'\
Non-Operating income and Expenses
Oiher Non-Operating E)cpenses $ $

Gains (Losses) on Saie of Assets
lnterest lncome
interest Expense

Other Non-Operating income mmi
Nei Non~Operating income or (E)<penses) $ szs $ w

Reorganization E)cpenses

Legai and Professiona| Fees $ $ won ‘di:\
Other Reorganization E>lpense
Tolai Reorganization Expenses $ " EESQ\ 5

 

Net income (Loss} Before income Taxes $ 95 5

Federai and State income Tax Expense (Beneflt) ____
NET income (Loss} $ ‘M\ $ \A.Q'_'\.\UL¢

(‘l) Accumulaled `l'olals include all revenue and expenses since the perl¢lorr date

Page 28
Re\r. 1l15l14

CaSe:18-10965-TB|\/| DOC#2115 Filed:O7/18/18 Entered:O7/18/1810214239 Page€ Of 13

omits

DEBTORlS)= MM clse~o=eooalmew

Form 2-E {Page 1 of 2)
SUPPOR11NG SCHEDULES

ForFeriod: !Q|\ ha to (Q`:j >h%

of Post-Petition Taxes
1 2 3 4

Unpaid post-petition Posl-peiiiion taxes Posl-pelill'on tax Unpaid posi-peliv'on
taxes from prior accrued illis month { payments made this ta)ec at end of reporiing
Of tax 1 month month coiunns 1+2-

income tax wiihheid
FiCA taxes \M‘thheid
FlCA lanes
fares
Other:

use & excise taxes
taxes

O‘iher:

Local

Personai
Reai

Other:

To‘tai taxes

(1)F0rfi'l'6¢rbpoi"!, webeglnnlmbdanceln column 1' wlllbe$ll; thereafter, beglnnlrlgbalancewlllbemo\lngballncefmmprlorreporl.

 

Pren'lium paid through
of insurance carrier date date

 

Page 29
Rev. 1l15l14

CaSe:18-10965-TB|\/| DOC#2115 Filed:O7/18/18 Entered:O7/18/1810214239 Page? Of 13

nerrorrrsr=nza>soar§_~anca

receivables
receivables

Form 2-E (Pal_:|e 2 of 21
SUPPORT|NG SCHEDUL

For Period: !Q\ l `\%

Accounts Receilrabte
31 lo 60

Post-Petition Acoounts

30

oriess

120

,.___

attach detailed

61f090

___

attach detailed

61t090

0uer90

 

grow

me ~o=ieMm/l

Totai at month end

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SCHEDULE OF PAYMENTS TO ATTORNEYS AND OTHER PROFESSIONALS
Hnnth-end Current Paid in
Retainer |ilonth'e Current Court Approlrai Month-end
Balance Accruel iiiionth Date Balanl:e Due *
Debtor's Counse| $ ® $ $ MD- \_-\
Col.lnsel for Urrsecl.lred N,)£\
creditors Commiilee le&.
Trusme's Gounse| N!A
Accountant N Ar
Oiher: N h
Totai $
‘Blllnce due to include leeelnd eitpene;s incurred but not yet paid.
SC'HEDULE OF PAYMENTS AND TRANSFERS TO PR|NCIPALS!EXECUT|VES“
Payee Nan'e Poeition Nature of payment Amol.int

 

 

 

 

 

 

 

 

 

 

 

"'List payments end vendors ct any llind and in any form made to cr for the benefit ot any proprietor, owner, pcmer, marenoider, oti*io¢r, or dlrllirctor.

Page 30

 

Rev. 1l15l"14

CaSe:18-10965-TB|\/| DOC#2115 Filed:O7/18/18 Entered:O7/18/1810214239 Page$ Of 13

Exhibit 5

oEeToR(s): ' cAsE NO: li>”_\§Bk:E)XEL\_/’i_

 

Form 2-F
QUARTERLY FEE SUMMARY *
For the Iii|onth Ended:

Cash Quarteriy Date
iilionth Year Disbursements ** Fee Due Check No. Paid

January § $
February
March 161-exp
ToTALlstQuarler $:W $?)'E)T" _\G:g)__ w
Ar»ril $ license
May § M "\'Z)

 

 

~'“"*" 'tM`Q\
ToTAl_znd orarler $ @WF._(\A- s LQ'ED m )E_) "\\t§`i§;
Juiy $
August
Sepiiember
TOTAL 3rd Qualter $ $
October $
November
Decernber
TOTAL 4th Quarter $ $

 

 

EDULE las of JANUARY 1, 20081
that may occur to 28 U. S. C. §1930(&)(6)

Quarterl_'g Disbursements F;Ie rter Disbursernents F;¢e

$CI to $14,999 ................. $325 $1,000,000 to $1.999,999 ............ $6.500
$15.000 130 $74.999 ......... $650 $2,000.000 to $2,999.999 ............ $9. 750
$75,000 130 $149,999....... 5975 $3.000,000 to $4.999.999 ............ $10.400
$150,000 to $224,999 ..... $1,625 $5,000,000 to $14.999,999 ....... $13.000
$225,000 to $299.999. $1,950 $15,000,000 to $29,999.999. . .. $20,0(]0
$300,000 to $999.999 ..... $4.875 $30,000,000 or more $30,000

 

* This summary is to retiect the current calendar year's information currluiatilre to the end of the reporting period

** Shouid agree with line 3, Form 2-B. Disbursements are net of transfers to other debtor in possession bank accounts

Faliure to pay the quarterly lee is cause for conversion cr dismissal of the chapter 11 case lt t l.l.S_ C. Sec. 11 12(b)(10)}

in addition, unpaid fees are considered a debt owed to the Unr'ted Stetes end mill be assessed interest under 31 U. S. C. §3?17
Page 31
Rev. 1l1 5!14

CaSe:lS-lOQGB-TB|\/| DOC#ZJ_J_B Filed:O?/lS/J_S Entered207/18/1810214239 PageQ Of 13

Exhibit 5

DEBTOR¢S)AAZ£D_&&§DM CASE NO:M¢*ZSSEM

Form 2-G

NAR T
For Period Ending

Piease provide a brief description of anyr significant business and legal actions taken by the debtor. its creditors,
or the court during the reporting period, any unusual or non-recurring accounting transactions that are reported in
the tinancial statements, and any significant changes in the financial condition of the debtor which have occurred

susequent to tha report oate.

i\iC> ‘o\op\&‘\cof\ir crombie `m ~d\,unc,l

 

 

 

 

Page 32
Rev. 1!15!14

CaS€'lSejiM65-TB|\/| DOC#'115 Filed:O7/18/18 Eni€EH§IQZ&TMHMnMQ€J.O 01 1.§

' P.o. an cases `
h clevela:¢ oH 44101-5335 June 30, 2018
' page 1 of 2

2920 1AB 0.403 TSPE AUTO 2 RTMiK T 10100000REM T1 T93419?4 761011004¢]22

11380 SM|TH ROAD, LLC
CASE#1B-10965TBM
DEBTOR |N POSSESS!ON
11380 SM|TH RD

AURORA CO 80010-1406 Questibns or comments?
Ca|| our Key Eiusiness Resouroe Oenter

1-BBB-KEY4BIZ (1-BBB-539-4249]

lilliii|||i||i|l|ii

illll'|"|"lll''i|l'lll'''l'l'll'l|'li'|ll'l"lll'i"""'"|iil

 

 

_
Enrotl i]n Oniir'ne Ban!o'ng today at Key. com.
Access your avai?abfe accounts, transfer funds and view your transactions night thorn yourPG.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_
KeyBank Basic Business Checking 761011004022
10':`3§§#§:|;5"9§3_;% LLC Beginning balance 5-31-18 $74,174.87
Subtractions -? 458.91
DEBTOR lN PossEssloN 5 . ’
Ending balance 8-30-18 $66.715.96
Subtractions
Paoer Checks * check missing from sequence
Check Date Amount Check Date Amount
1006 6~7 $§,456.09 1007 6-2? 1 ,204.0§
Paper Checks Paid $4,660.17
Withdrawais Date Seriai ii i_ocaiion
6-7 Direct Withdrawa|, Xce| Energy-Pscoxce|energy $728.40
6-22 Direct Withdrawa|, City Aurora ivr Payment 7?3.61
6-28 Direct Withdrawa|. Xce| Energy-Pscoxce|energy 1,296.?3
Tota| subtractions $7,458.91
Fees and
charges Date Quantity Unit Charge
6-29-18 P§per Statement Fee 1 3.00 -$3.00
6-29-18 Service Charge Waive To Fte|ationship Pricing _ 1 3.00 +3.00
Fees and charges this period $0.00

761011004022 - 00618
221

CaSe:lS-lOQGB-TB|\/| DOC#ZJ_J_B Filed:O?/lS/J_S Entered207/18/1810214239 PagellOi 13

 

814413.1t-?B‘3419?'5-2921.1b*

 

`cus'roiviEi=i Accouivr iiis_cLosiansi

 

 

The following disclosures apply only to accounts covered by the Fer.l_aral Tmth-in-Landing
not ortho Federal Electronlc Funds Transfer Act, as ernended. or similar state lawe.

ll‘i CASE OF EFlFlOFl OFl QUESTIONS ABOUT YOUH ELECTHONIC TRANSFERS:

Call us at the phone number indicated ori the first page of this slatement, OFl write us at
the address listed below", as soon as you cen, il you think your statement or receipt is
wrong or ii you need more information about a transfer listed on the statement or receipt.
We must hear from you no later than sixty {BO} days alter we sent you the FIFlST statement
on which the problem or error appeared.

’ K k

Customer Dlsputes
NY-31-17-0128

17 Corporata Woods Blvd
Albarry, NY 12211

0 Tell us your name end Aocount numbef;

° Dcsot'ibe the error or transferthat you are unsure about, and explain as
clearly as you cert whyyou believe it is an errororwl'iyyou need more
lnlon'nai.ion;

- Tell us the dollar amount cl the suspected error.

li you tell us orally, we may require that you send us your complaint or question in writing
within ten (10} business days.

We will investigate your complaint and will correct any error promptly. ll we take more
than ten [1 01 business days to do this, we will recredit youraccount for the amount you
thinkis in error, so that you will have use of the money during the time `rt takes us to
complete our investigation

COMMON ELEC»'TF{ON|C TR.ANSAC“ON DESCF\IPUONS:

XFER TO SAV - Transler to Savlngs Account
XFEFl FROM SAV » Trensierl‘rom Savings Account
XFEFl T'D CKG - Tl'ai"isler to Checklrig Account

XFEF{ FFlOM CKG - Tl'a.t'lslel' 1'|'0|'|1 Cheokil'ig li|\t:t:ol..lnt
PMT TO CFl CAF{D - Paymerif to Ci'odi't Cai'd
AD‘¢I" CFl CAF\D - Advonco from Credit Card

Prieeuthorized Gredits: ll you have ananged to have direct deposits made to your

Aocourit at least once every sixty (60) days from the same person or company, you can

gail us at the numberlndicated on the reverse side to find out whether or riot the deposit
as been made.

iMPDRTANT LlNE OF CRED|T lNFOHMATlOH

What To Do lf You Thlnk You Find A Mistake on Your Stieterl'ient: ll you think there is
an error on your statement, write us at: l(eyBank N.A., P.O Box 93885, Cleveland, Ol'l
44101~ 5585.

in your|etter, give us the following infonnetion:

' Account information : ‘i'our name and account number.

- Doliar Amount: The dollar amount of the suspected error.

- Description of the Problem :lf you think there is an error on your blil, describe
what you believe is wrong and why you believe it was a mistake.

You must contact us within 60 days after the error appeared on your_statement. `i’ou must
notify us 01 any potential errors iri writing. You may call usl but if you do we are not
required to investigate any potential errors and you may have to pay the amount iri
question.

Whlle we investigate whetheror riot there has been an enor. the following are tn.ie:

¢ We cannot try to collect the amount in questlon, or report you as delinquent on
that amount

v The charge in question may remain on your statement, and we may continue to
charge you interest on that amount. Hut, ll we determine that we made a
mistake, you will riot have to pay the amount ln question or any interest or
other fees related to that arnount.

- while you do net have to pay the amount in question. you are responsible ior
the remainderol your balanco.

- We can apply any unpaid amount against your credit llmit.

Explanatlon of Finence Change: Your Finence Charge attributable to interest
[l'iereinafter referred to as lriterest) is computed using the Average Dally Balance melhod.

Average Deity Bela.nce method [Elelence Subject te interest Fl.ete): Your interest is
computed on ell purchases and cash advances {collect‘ivaty "advances") from the date
each advance is posted until we receive payment in full [there ia rio grace period}. We
hguro the interest on your line ol credit by multiplying the daily periodic rate by the
"Average Daily Balance" of your line cl credit (incli.lding cunent transoctlons) and
multiplying by the number of days in the billing cycle. To get the Average Da§|y Balence
we take the beginning balance of your line of credit each day, add any new advances or
debits, and subtract any payments and credits, any non-llnanced fees and unpaid interest.
This gives u_s _tha d_a.ity balance. Then we add up all of r daily balances iri the billing
By¢_;'l: guild divide this total by the number of days iri the ‘llirig cycle to get your i\veraga
ar ance.

CHED|T lNFOFlMATlON: lf you believe we have reported inaccurate information about
yoHL;reaooount to e credit reporting agency, you may contact the credit reporting agency or
w to us at:

Key Credit Flesea.ioh Depa.rtment
P.O. Box 94518
Cleveland, 0hlo44101»4518

P|ease include your account number,e copy of your credit report reflecting the inaccurate
intonnation, name, address city, slate. end zip code, and an explanation et why you
believe the information is inaccurate

page 2 of 2

BALANC|NG YOUFl ACCOUNT

P|ease examine your statement and paid check information
upon receipt. Erasures, alterations or irregularities should be
reported promptly in accordance with your account agreement.
The suggested steps below will help you balance your account.

lNSTFlUCTlONS

Verify and check off in your check register each deposit,

check or other transaction shown on this statement

Enter into your check register and SUBTRACT:
- Checks or other deductions shown on our statement that

you have notalready entered.

’ The "Service charges”, if any, shown on your statement

Enter into your check register and ADD:

' Deposits or other credits shown on your statementthat
you have not already entered.
- The “interest eamed” shown on your statement, if any.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

9 Liet from your check 6 List any deposits from
register any checks or your check register that
other deductions that are noteho\ivn on your
are not shown on your statement
S._tii.l.¢l.\]§l‘t- .“.___.. .

Checlt lt Amount Date Amount
or Date
`_____'_ __ ` _ TOTAL -) $

_________________ _ _ @_ Enter ending balance

shown on your

*' _ ‘ ' *_ _'" _ statement

$
_ _ _ _ ____ a Add 5 and 6 and enter
_ _ """ total here.
_ __ _ F _ $
'__" __'_ _` " _' 9 Enter total from 4.
_ _ __ _ _ _ _ _ $
9 Subtract 8 from 7 and
** enter difference here.
___.__ e_--_. _ __ `__ $
-_- _ ~ _ _ _____ _J __ This amount should agree with
TOTAL -} $ your check register balance.

 

 

 

 

 

 

 

 

761013013492 - 00618
999

 

CaSe:lS-lOQGB-TBi\/| DOC#ZJ_J_B Filed:O?/lS/J_S Entered207/18/1810214239 PagelZ Oi 13

5:56 P|il
07113!18

11380 Smith Rd, LLC

Reconci|iation Summary
Keyeanx #4022. Periou Ending osiaoizoia

 

 

 

Jun 30, 18
Beginnlng Belance 74,174.87
Cleared Trerreectior\e
Checlre end Peyinents - 5 items -7,458.91
`l`ota| Cleered Trensect'lons -7,458.91
Cleared Belance 66.715.96
Register Baience as of 06!30!2018 66.715.96
Ending Belence 66.715.96

Page 1

CaSe:lS-lOQGB-TB|\/| DOC#ZJ_J_B Filed:O?/lS/J_S Entered207/18/1810214239 Pagel?> Of 13

5:56 PM
l.`l?H 3118

Reconciliation Detail

11380 Smi|:h Rd, LLC

KeyBank #4022, Period Ending 06!30!2018

 

Type Dats Num blame
Baginning Balan¢:e
Clearod Transactlons
Check$ and Paymem - 5 home
Check 06:`07!2018 1006 Weinman & Associa...
Check 06!07!2018 DR 06... Xce| Energy
Ched< 06!27!2018 1007 Doug Brown
Check 06!28!201 8 DR 06... Xce| Energy
Check 06!28!2018 DR 06.. Aurora Watel‘

Total Chec:lcs and Paymems
Total Cleared Transaclions
C|eared Balanoe
Register Balance as of DEFSD!2018

Ending Balance

C|ll

XXX)<><

 

 

 

 

 

 

Amou rlt Balanca

?4.174.87

-3.456.09 -3,456.09
-728.40 4,134.49
-1,204.03 -5.383.5?
-1,296.73 -6,685.30
-773.61 -7.458.91
-7,458.91 -7,458.91
-?,458.91 -7.458.91
-7,458.91 66,715.96
-?,458.91 66,715.96
-7,458.91 66,?15.96

 

 

Page 1

